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                    EXHIBIT B
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                               AJS Tax & Accounting Service
                                   3550 Trails End Lane
                                   Wheatfield, NY 14120
                                  amysnowbergercpa@gmail.com
                                        (716) 622-4756

                                                                       September 1, 2024
                                                                             Invoice 261

OGR Consulting LLC
c/o Mark Kercher, CPA
5090 Old Goodrich Rd
Clarence, NY 14031

Professional services rendered for:

        Bookkeeping services for the Mott Group
         for the period of 8/1/24-8/31/24
         which includes recording deposits
         and payments from each bank account,
         recording payroll, and reconciling
         all bank accounts. Preparation of sources
         and uses report for courts.


                                      74.50 hours x $65/hour =     $           4,842.50

        mileage incurred

                                       0.00 miles x $0.67/mile =   $                -




                                                                   $           4,842.50
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                       AJS Tax & Accounting Service

                                                       September 1, 2024
                                                              Invoice 261



Hours worked by day:

      8/1/2024                                                      3.50
      8/2/2024                                                      6.25
      8/3/2024                                                      6.75
      8/4/2024                                                      5.25
      8/5/2024                                                      5.75
      8/6/2024                                                      5.25
      8/7/2024                                                      0.25
      8/9/2024                                                      8.75
     8/10/2024                                                      6.25
     8/11/2024                                                      1.00
     8/17/2024                                                      1.25
     8/20/2024                                                      2.25
     8/21/2024                                                      4.50
     8/23/2024                                                      0.25
     8/24/2024                                                      4.50
     8/25/2024                                                      2.25
     8/26/2024                                                      2.75
     8/27/2024                                                      1.00
     8/28/2024                                                      1.25
     8/29/2024                                                      2.00
     8/30/2024                                                      1.75
     8/31/2024                                                      1.75




                                        Total Hours                74.50




Miles driven
                                        Total Miles
